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                   IN THE UNITED STATES DISTRICT COURT
                              FOR DELAWARE

 AUTONOMOUS DEVICES LLC,              §
                                      §
                     Plaintiff,       §
                                      § C.A. No. 22-1466-MN
 v.                                   §
                                      §
 TESLA, INC.,                         §
                                      §
                     Tesla.             REDACTED -
                                      §
                                        PUBLIC VERSION
                                      §

       TESLA’S LETTER TO THE HONORABLE LAURA D. HATCHER IN
         OPPOSITION TO AUTONOMOUS DEVICES LLC’S LETTER
              REGARDING DISCOVERY DISPUTES (D.I. 66, 75)

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August 23, 2023
                                                Confidential Version Filed: 8/23/23
                                                Redacted Version Filed: 9/1/23
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Dear Judge Hatcher:
Pursuant to the Court’s Order (D.I. 67), Defendant Tesla, Inc. (“Tesla”) provides this response to
Plaintiff Autonomous Device’s (“AD”) August 21, 2023 discovery letter (D.I. 75). The relief
sought in AD’s letter should be denied in its entirety.
I.     DISCOVERY REGARDING “PREDECESSOR SUPERCOMPUTERS”
AD seeks discovery on “Tesla’s neural network and AI training computers, for example, the Dojo
and predecessor supercomputers.” Tesla operates a supercomputer powered by Nvidia GPUs that
can be used for           and training. The Nvidia supercomputer is not a “predecessor” to Dojo,
making discovery into the Nvidia supercomputer non-responsive to AD’s request as worded.
Nevertheless, as noted in AD’s letter, Tesla already agreed on August 2nd in writing to provide
discovery regarding its Nvidia supercomputer. Indeed, even before that email, Tesla’s core
technical production on June 30, 2023 included hundreds of documents relating to
running on the Nvidia GPUs, in addition to source code that is used for                   on the
Nvidia GPUs. E.g., Exs. 5, 15. Tesla has not withheld documents regarding its Nvidia
supercomputer. To avoid all doubt, Tesla today served supplemental discovery responses repeating
this representation, rendering this issue moot. Ex. 17.
II.    TRAINING MATERIALS (RFP NO. 35)
AD’s request for internal wikis and training materials fails for three reasons: (i) employee training
materials are not relevant; (ii) AD’s request is overbroad; and (iii) Tesla has already produced
internal wikis and training materials to the extent they exist and described the relevant functionality
of the accused products.
First, training materials for new employees are not relevant to any parties’ claims. Tesla has
produced documents (including training materials) and interrogatory responses explaining how its
products operate. AD complains that reviewing Tesla’s code has been challenging due to its
complexity and size (while also complaining it is inadequate), but AD has spent less than five
hours reviewing it—review by one attorney, no experts. See D.I. 64-2. AD cites two cases for the
notion that Tesla must provide a “road map” to its source code, but neither case is applicable here.
In Facedouble, Inc. v. Face.com, Inc., the defendant was ordered to provide a “road map” to its
source code in response to an interrogatory. 2014 WL 585868, at *2 (S.D. Cal. Feb. 13, 2014).
Likewise, in Personal Audio, LLC v. Apple, Inc., the defendant was ordered to respond to an
interrogatory about how its products worked. Tesla already provided a comprehensive narrative
interrogatory response supported by documents, as is proper, describing how Tesla’s products
work. Ex. 13 (ROG 3). AD is not herein challenging the adequacy of that response.
Second, AD’s request is overbroad, seeking “[a]ll training materials . . . concerning the Accused
Instrumentalities.” This request encompasses irrelevant documents related to, for example,
Bluetooth & WiFi, powertrain thermal and HVAC controls, measurement processes for battery
products, and Mobile (iOS/Android) Apps for Tesla vehicles. See Exs. 1-4.
Third, after conducting a reasonable search, Tesla confirms that it does not maintain or provide
formal training materials to new employees relating to FSD, EAP, or Simulators. Over the years,
some employees have created, on an ad hoc basis, documents reflecting instructions and training
materials related to FSD, EAP, and Simulators, but these documents are not necessarily current
nor accurate. Tesla produced such documents as part of its core technical document production.
See, e.g., Ex. 5 (internal wiki providing instructions for                                 ); Ex.
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6                     presentation); Ex. 7 (internal wiki providing instructions for
                                    ); Ex. 8 (internal wiki providing instructions for
                                            ); Ex. 9 (internal wiki providing
                                                                         ); Ex. 10 (TESLA-SCT-
0000393) (presentation re                                         provided for in camera review).
III.   DOCUMENTS RELATED TO SAFETY (RFP NOS. 85, 87, 88, 89)
AD claims that “Tesla has not argued that the requested documents [in RFP Nos. 85, 87, 88, and
89] are irrelevant or not proportional to the needs of the case.” That is incorrect. In response to
RFP No. 85, for example, Tesla objected to the Request as “overly burdensome, vague, ambiguous
and not proportional to the needs of this case to the extent it seeks production of ‘all documents
and information.’” D.I. 75-6 at 78. Tesla supplemented its response on July 7, 2023 stating that
“Tesla does not agree to search for and produce ‘All Documents and information gathered for’ the
above-referenced tweet, as this request is vague, is not relevant to any party’s claim or defense,
and is disproportionate to the needs of the case.” Id.; see also id. at 80-82 (objecting to RFP Nos.
87, 88, and 89). Tesla stands by these objections.
Documents related to the safety of Tesla vehicles are not relevant to any parties’ claim in this case.
The patents-in-suit have nothing to do with safety. AD contends that safety documents may be
relevant to damages, as “Tesla’s touts the safety and value of its use of the patented technology.”
AD Ltr. at 2. But that stretches relevance beyond any coherent boundary, and even if that were
true, Tesla has already agreed to produce documents—to the extent they exist and subject to its
objections—showing benefits associated with the accused functionalities. AD, Ex. 6 at 29 (Supp.
Resp. to RFP No. 28). AD otherwise cites no case law for the proposition that safety is relevant to
damages, especially for a product already on the market. Thus, the burden on Tesla to collect all
documents related to the safety of its vehicles outweighs their marginal relevance, if any.
Moreover, RFP Nos. 85, 87, 88, and 89 are overbroad: RFP No. 85: “All Documents and
information gathered for the NHTSA relating to the tweet below”; RFP No. 87: “All Documents
supporting Mr. Musk’s statement that ‘Tesla Full Self-Driving will work at a safety level well
above that of the average driver’ in 2021 as shown in the tweet below”; RFP No. 88: “All
Documents concerning the safety of Tesla’s Full Self-Driving and/or Enhanced Autopilot”; and
RFP No. 89: “All Documents concerning Tesla’s fleet being “the biggest asset value increase of
anything in history” as stated by Mr. Musk during Tesla’s Q4 2022 results conference call.” It
would be impossible for Tesla to meet AD’s demand of finding and producing “All Documents”
relating to vague tweets and statements, as well as “All Documents concerning the safety” of
Tesla’s FSD and EAP.
Nevertheless, in response to RFP No. 86, Tesla agreed to produce “documents provided to NHTSA
that describe the technical operation of FSD or EAP.” AD neglects to mention that on August 4,
Tesla produced nearly 3,500 pages of NHTSA documents, many of which discuss safety relating
to FSD and EAP. E.g., Ex. 11. In total, Tesla has produced about 325 documents where “safety”
is mentioned, including an internal wiki page dedicated to “              .” See Ex. 12.
IV.    FORMER EMPLOYEES WITH SUPERVISORY OR MANAGEMENT ROLES
       FOR FLEET LEARNING (ROG NO. 10)
Interrogatory No. 10 requests that Tesla identify all “former employee[s] who held a managerial
or supervisory role at Tesla related to Tesla’s Full Self Driving technology, Tesla’s Enhanced



                                                  2
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Autopilot technology, or Tesla’s Dojo technology” including stating “whether that employee was
fired, laid off, or resigned.” Tesla objected to this Interrogatory as “unduly burdensome and overly
broad regarding identification of third-party ‘former employee[s]’ who have no current affiliation
with Tesla,” “disproportionate to the needs of the case pursuant to Rule 26,” objected “to the extent
Plaintiff intends to use the information requested to needlessly harass and impose undue burden
on non-parties,” and further objected on the grounds that “information related to the reasons why
former employees left Tesla … is unrelated to the accused products and functionality or any
relevant issues in this case.” Ex. 13 at 17-18.
Even if former Tesla employees had relevant information, AD is not entitled to discovery that “can
be obtained from some other source that is more convenient, less burdensome, or less expensive.”
FED. R. CIV. P. 26(b)(2)(C)(i). Due to the manner in which Tesla maintains historic information,
creating a list of former employees by subject matter expertise would be difficult and burdensome.
Tesla has identified current employees knowledgeable about the accused products (e.g., Ex. 14
(Paragraph 3 Disclosures)), and AD has yet to exhaust less burdensome avenues of discovery.
Indeed, AD offers no explanation for what unique information is missing from Tesla’s current
employees. AD made its true intentions clear in requesting whether each former employee was
“fired” or “laid off”: to seek potentially disgruntled former Tesla employees. Tesla should not be
burdened with expending resources to satisfy AD’s fishing expedition.
AD cites to a Special Master’s findings in Frontier Comm’ns Corp. v. Google Inc., but that case
supports Tesla’s position. The Special Master found that an interrogatory seeking “the identity of
all individuals involved in the development of the relevant technology” was “overbroad.” Ex. 16
at 5. The Special Master found that “Google can meet its reasonable discovery obligations by
identifying those individuals who are most knowledgeable about or primarily responsible for” the
design of the relevant technology. Id. This issue should be decided the same way.
V.     “LICENSE AGREEMENTS” RELATED TO THE ACCUSED
       INSTRUMENTALITIES (ROG NO. 8; RFP NOS. 60, 79, 80)
Interrogatory No. 8 and RFP Nos. 60, 79, and 80 are overbroad and unduly burdensome, seeking
a tremendous amount of irrelevant documents. Contrary to AD’s letter, these requests are not
limited to “patent license agreements.” For example, RFP No. 60 requests “All contracts and
agreements . . . related to the manufacture, testing, sale, development, or marketing of any Accused
Instrumentality.” Collectively, these requests cover any contract that Tesla has ever entered.
During the meet and confer, Tesla inquired if a hypothetical agreement related to a wheel design
for a Tesla vehicle would be responsive. AD responded affirmatively. AD’s overreaching
discovery into any and every agreement relating to Tesla vehicles is simply not relevant and should
be barred. It has no purpose other than to annoy and harass Tesla.
Tesla has agreed to search for and produce patent licenses or settlements related to autonomous
driving or the training of a vehicle for such driving—i.e., the technology accused of
infringement—to the extent such documents exist. License agreements for unrelated technology,
let alone manufacturing agreements, are simply not relevant, and AD cites no case law showing
that such agreements are discoverable.




                                                 3
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                                         Respectfully submitted,

                                         /s/ Brian P. Egan

                                         Brian P. Egan (#6227)

BPE/bac
Attachments

cc:   Clerk of the Court (via CM/ECF; w/attachments)
      All Counsel of Record (via CM/ECF and electronic mail; w/attachments)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 23, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

August 23, 2023, upon the following in the manner indicated:

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                                                    /s/ Brian P. Egan

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                       EXHIBIT 1
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                     Careers                                                             Menu




                                       Tesla Careers

Go to search



Software Engineer, Bluetooth & Wifi
Job Category               Engineering & Information Technology


Location                   PALO ALTO, California


Req. ID                    207419


Job Type                   Full-time



                                             Apply


Tesla participates in the E-Verify Program


What to Expect
Tesla is seeking a rockstar Software Engineer to join our Wireless Software Engineering
team. In this role, you will be part of a team responsible for delivering an unparalleled
Bluetooth connectivity experience for the next generation of Tesla vehicles. We are looking for
a highly motivated, inquisitive, and driven engineer who will take an ownership approach to
shaping the user experience.


What You’ll Do
  Contribute to Tesla’s wireless connectivity stack – Bluetooth/BLE, Wi-Fi.
   New feature development, Bluetooth profile connectivity management, and integration
   with smartphone ecosystems Develop telemetry and analytics platform enabling data
   collection, analysis and visualization of data reported from Tesla fleet.
   Contribute to test automation frameworks to validate existing and new connectivity
   features.
   Provide support to QA, manufacturing, and other software teams. Root-cause issues
   reported by QA teams and customer feedback.
   Contribute to rapid prototyping and evaluation of Tesla’s next generation wireless
   platforms. Implement continuous improvements and best practices within the team, and
   larger organization.
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What You’ll Bring
  Experience in computer science, computer engineering, electrical engineering, or
  equivalent experience
   Strong coding skills in C and C++. 4+ years’ experience in developing, integrating, and
   debugging any wireless protocol stack
   High expertise in embedded systems design, including real time operating systems
   Familiarity with open-source tools and Linux systems Knowledge of computer
   architectures, such as ARM or x86
   Expertise in analysis and debugging hardware level issues requiring familiarity with
   hardware interfaces such as I2C, UART, SPI etc.
   Attention to details in designing the user facing features Bluetooth and audio experience
   preferred but not required


Compensation and Benefits
Benefits
Along with competitive pay, as a full-time Tesla employee, you are eligible for the following
benefits at day 1 of hire:

   Aetna PPO and HSA plans > 2 medical plan options with $0 payroll deduction
   Family-building, fertility, adoption and surrogacy benefits

   Dental (including orthodontic coverage) and vision plans, both have options with a $0
   paycheck contribution

   Company Paid (Health Savings Account) HSA Contribution when enrolled in the High
   Deductible Aetna medical plan with HSA

   Healthcare and Dependent Care Flexible Spending Accounts (FSA)
   LGBTQ+ care concierge services

   401(k) with employer match, Employee Stock Purchase Plans, and other financial benefits

   Company paid Basic Life, AD&D, short-term and long-term disability insurance
   Employee Assistance Program

   Sick and Vacation time (Flex time for salary positions), and Paid Holidays
   Back-up childcare and parenting support resources

   Voluntary benefits to include: critical illness, hospital indemnity, accident insurance, theft &
   legal services, and pet insurance

   Weight Loss and Tobacco Cessation Programs
   Tesla Babies program

   Commuter benefits

   Employee discounts and perks program

Expected Compensation
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$104,000 - $348,000/annual salary + cash and stock awards + benefits

Pay offered may vary depending on multiple individualized factors, including market location,
job-related knowledge, skills, and experience. The total compensation package for this position
may also include other elements dependent on the position offered. Details of participation in
these benefit plans will be provided if an employee receives an offer of employment.




Tesla is an Equal Opportunity / Affirmative Action employer committed to diversity in the
workplace. All qualified applicants will receive consideration for employment without regard to
race, color, religion, sex, sexual orientation, age, national origin, disability, protected veteran
status, gender identity or any other factor protected by applicable federal, state or local laws.

Tesla is also committed to working with and providing reasonable accommodations to
individuals with disabilities. Please let your recruiter know if you need an accommodation at
any point during the interview process.

For quick access to screen reading technology compatible with this site click here to download
a free compatible screen reader (free step by step tutorial can be found here). Please contact
accommodationrequest@tesla.com for additional information or to request accommodations.

Privacy is a top priority for Tesla. We build it into our products and view it as an essential part
of our business. To understand more about the data we collect and process as part of your
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                           EXHIBIT 2
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         Careers                                                              Menu




                                                  Tesla Careers

     Go to search



     Software Validation Engineer, Thermal Systems
     Job Category               Vehicle Software


     Location                   PALO ALTO, California


     Req. ID                    123212


     Job Type                   Full-time



                                                        Apply


     Tesla participates in the E-Verify Program


     What to Expect
     *Role will be based in Palo Alto, CA with potential regular travel to Grand Rapids, MI and other Tesla
     facilities.

     Tesla is looking for a highly motivated individual to join the Vehicle Software organization’s Systems
     Validation Team with a focus on powertrain thermal and HVAC controls. It is the responsibility of this team
     to validate all software driven, system level, vehicle requirements prior to any new hardware or software
     release or new product introduction.

     As a systems validation engineer you are expected to be an expert in your domain, have a deep
     understanding of the software/hardware dependencies in your system, and ensure our products achieve
     Tesla’s high standards for safety and customer experience prior to release.

     Tesla is continuously making improvements to its existing product line, as well as launching new products
     at a breakneck pace. As a validation engineer you must maintain a close relationship with all members of
     the design cycle to guarantee you are prepared to rigorously and comprehensively test all new features and
     changes made in your area of responsibility.


     What You’ll Do
       Work with hardware and software, modeling, controls and development teams, to maintain an expert
       understanding of thermal systems including: Powertrain thermal management, heat pump process
       control, and cabin HVAC controls.

        Develop and execute comprehensive system and sub-system level test specifications and test plans
        and provide feedback to development teams.

        Invent methods and build tools to execute tests and evaluate results efficiently and repeatedly.

        Develop prototype test setups to integrate new subsystems with simulated or actual vehicle
        components – utilizing software driven test automation.

        Investigate field issues through data analysis and issue reproduction.

        Dig into data and source code to identify and debug issues and propose robust solutions.
        Continuously look for ways to improve the safety, performance and customer satisfaction with Tesla
        products.

        Promote and protect Tesla’s reputation as a cutting-edge company producing the world’s most
        exciting cars and shifting the paradigm of personal transportation worldwide.


     What You’ll Bring
       BS or MS degree in Computer Science, Mechatronics, Electrical, Mechanical or Systems Engineering or
       equivalent, with practical software engineering experience or proof of exceptional skills in related fields

        Hands-on technical experience debugging complex systems involving networked microprocessors and
        software-controlled electrical or electromechanical devices

        Strong fundamentals in heat-transfer and thermodynamics and devices like pumps, radiators, and
        refrigerant systems
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        Experience with CAN and Vector tools
        Experience analyzing and parsing data to develop technical insights and make decisions

        Experience with Python or other scripting languages

        Experience with C and/or C++ for embedded systems

        Minimum 2 years’ experience utilizing the essential skills above


     Compensation and Benefits
     Benefits
     Along with competitive pay, as a full-time Tesla employee, you are eligible for the following benefits at day
     1 of hire:

        Aetna PPO and HSA plans > 2 medical plan options with $0 payroll deduction

        Family-building, fertility, adoption and surrogacy benefits

        Dental (including orthodontic coverage) and vision plans, both have options with a $0 paycheck
        contribution

        Company Paid (Health Savings Account) HSA Contribution when enrolled in the High Deductible Aetna
        medical plan with HSA

        Healthcare and Dependent Care Flexible Spending Accounts (FSA)

        LGBTQ+ care concierge services

        401(k) with employer match, Employee Stock Purchase Plans, and other financial benefits
        Company paid Basic Life, AD&D, short-term and long-term disability insurance

        Employee Assistance Program

        Sick and Vacation time (Flex time for salary positions), and Paid Holidays

        Back-up childcare and parenting support resources

        Voluntary benefits to include: critical illness, hospital indemnity, accident insurance, theft & legal
        services, and pet insurance

        Weight Loss and Tobacco Cessation Programs

        Tesla Babies program

        Commuter benefits

        Employee discounts and perks program

     Expected Compensation
     $96,000 - $282,000/annual salary + cash and stock awards + benefits

     Pay offered may vary depending on multiple individualized factors, including market location, job-related
     knowledge, skills, and experience. The total compensation package for this position may also include other
     elements dependent on the position offered. Details of participation in these benefit plans will be provided
     if an employee receives an offer of employment.




     Tesla is an Equal Opportunity / Affirmative Action employer committed to diversity in the workplace. All
     qualified applicants will receive consideration for employment without regard to race, color, religion, sex,
     sexual orientation, age, national origin, disability, protected veteran status, gender identity or any other
     factor protected by applicable federal, state or local laws.

     Tesla is also committed to working with and providing reasonable accommodations to individuals with
     disabilities. Please let your recruiter know if you need an accommodation at any point during the interview
     process.

     For quick access to screen reading technology compatible with this site click here to download a free
     compatible screen reader (free step by step tutorial can be found here). Please contact
     accommodationrequest@tesla.com for additional information or to request accommodations.

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                          EXHIBIT 3
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                     Careers                                                              Menu




                                       Tesla Careers

Go to search



Sr. Software Development Engineer, Battery
Vision Lead
Job Category               Manufacturing


Location                   Palo Alto, California


Req. ID                    206738


Job Type                   Full-time



                                             Apply


Tesla participates in the E-Verify Program


What to Expect
Tesla is looking to hire a Staff Software Development Engineer to lead a team focused on
advanced vision and measurement processes for our cutting-edge battery products. This
position will drive technological advancement in this area while growing a small, specialized
team. It includes personnel management responsibilities. Battery development is at the heart
of our company, and this is an exciting opportunity to work directly on the central challenges
with electric vehicles – battery cost and performance. Tesla is a demanding and fast-paced
environment where you will work with a highly motivated team on extremely challenging
projects.


What You’ll Do
· Evaluate needs and opportunities for value-add vision and measurement processes across
new battery products

· Perform proof-of-concept to green light new and novel methods, technologies, and suppliers

· Guide cross-functional selection of optimal strategy and provide input to product interface
design for complex applications

· Collaborate with internal and external equipment groups on custom automation
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· Rigorous process and equipment development to achieve target efficacy, repeatability, and
performance

· Continue application development through maturity and handoff. Support release to
production

· Establish standards and support downstream factory launch and improvement projects

· Act as a subject matter expert for industrial imaging and measurement technologies


What You’ll Bring
· BS, MS, and/or PhD in Engineering, Computer Science, Physics, Material Science or equivalent

· 5+ years of engineering or equivalent relevant experience

· 1+ year leading and/or mentoring personnel (informal required; formal preferred)

· Expertise in the development and implementation of high-volume 2D and 3D machine vision
(Keyence, Cognex, Halcon, other) – application design, programming, validation, and
troubleshooting

· Expertise in other measurement and inspection technologies (at least one, multiple
preferred): optical sensors, diodes, profilometry, laser measurement, optical scanning, optical
metrology, LVDT, CMM, thermal imaging, ultrasonic measurement, X-ray, other)

· Programming experience with Python and C++. Additional programming languages a plus

· Experience with Python libraries (openCV, Pandas) a plus

· Relational database experience (SQL, MySQL) a plus

· FTP expertise a plus

· Experience with PLC programming, integration, and machine safety systems (Siemens,
Beckhoff, Allen-Bradley, other) a plus


Compensation and Benefits
Benefits
Along with competitive pay, as a full-time Tesla employee, you are eligible for the following
benefits at day 1 of hire:

   Aetna PPO and HSA plans > 2 medical plan options with $0 payroll deduction
   Family-building, fertility, adoption and surrogacy benefits

   Dental (including orthodontic coverage) and vision plans, both have options with a $0
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   LGBTQ+ care concierge services
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    401(k) with employer match, Employee Stock Purchase Plans, and other financial benefits

    Company paid Basic Life, AD&D, short-term and long-term disability insurance
    Employee Assistance Program

    Sick and Vacation time (Flex time for salary positions), and Paid Holidays

    Back-up childcare and parenting support resources
    Voluntary benefits to include: critical illness, hospital indemnity, accident insurance, theft &
    legal services, and pet insurance
    Weight Loss and Tobacco Cessation Programs

    Tesla Babies program
    Commuter benefits

    Employee discounts and perks program

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accommodationrequest@tesla.com for additional information or to request accommodations.

Privacy is a top priority for Tesla. We build it into our products and view it as an essential part
of our business. To understand more about the data we collect and process as part of your
application, please view our Tesla Talent Privacy Notice

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                                           Privacy & Legal


                                           Tesla Connect
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                           EXHIBIT 4
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        Careers                                                                Menu




                                                   Tesla Careers

      Go to search



      Software Engineer, Mobile
      Job Category               Vehicle Software


      Location                   PALO ALTO, California


      Req. ID                    108805


      Job Type                   Full-time



                                                           Apply


      Tesla participates in the E-Verify Program


      What to Expect

      The Role

      We are looking for a highly motivated mobile engineer specializing in creating exceptional user experiences
      for our users. You will need strong software engineering skills, excellent interpersonal communication, and
      experience accepting and giving meaningful feedback on technical designs. You will be responsible for the
      look and feel of the user experience, architecture, and front-end graphics. You will need to collaborate with
      our top-notch design team and back end developers. Our goal is to set the bar for what vehicle mobile user
      experience can be. We want to work with people who are excited by this goal and have the talent to deliver
      on it.



      What You’ll Do
        Design, code and maintain mobile user experiences end-to-end.
         Optimize code for performance, stability and maintainability.

         Work with a cross-functional team of hardware engineers, application/UI software engineers,
         QA/Validation, and designers


      What You’ll Bring
        Bachelor’s Degree in Computer Science, Software Engineering, or similar areas of study. Minimum 2
        years’ experience in Mobile (iOS/Android) development.
         Proficient in at least one of the following: Swift, Kotlin, Objective-C, or Java
         Familiar with JavaScript/TypeScript. Experience with React/React Native is preferred.
         Excellent grasp of fundamental computer science concepts, good at solving complex technical
         problems.
         Experience using common design patterns. High standards for code quality, maintainability, and
         performance.
         Experience creating, maintaining and shipping top-ranking mobile apps is preferred.


      Compensation and Benefits
      Benefits
      Along with competitive pay, as a full-time Tesla employee, you are eligible for the following benefits at day
      1 of hire:

         Aetna PPO and HSA plans > 2 medical plan options with $0 payroll deduction
         Family-building, fertility, adoption and surrogacy benefits
         Dental (including orthodontic coverage) and vision plans, both have options with a $0 paycheck
         contribution
         Company Paid (Health Savings Account) HSA Contribution when enrolled in the High Deductible Aetna
         medical plan with HSA
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         Healthcare and Dependent Care Flexible Spending Accounts (FSA)
         LGBTQ+ care concierge services
         401(k) with employer match, Employee Stock Purchase Plans, and other financial benefits
         Company paid Basic Life, AD&D, short-term and long-term disability insurance
         Employee Assistance Program
         Sick and Vacation time (Flex time for salary positions), and Paid Holidays

         Back-up childcare and parenting support resources
         Voluntary benefits to include: critical illness, hospital indemnity, accident insurance, theft & legal
         services, and pet insurance
         Weight Loss and Tobacco Cessation Programs
         Tesla Babies program
         Commuter benefits
         Employee discounts and perks program

      Expected Compensation
      $96,000 - $336,000/annual salary + cash and stock awards + benefits

      Pay offered may vary depending on multiple individualized factors, including market location, job-related
      knowledge, skills, and experience. The total compensation package for this position may also include other
      elements dependent on the position offered. Details of participation in these benefit plans will be provided
      if an employee receives an offer of employment.




      Tesla is an Equal Opportunity / Affirmative Action employer committed to diversity in the workplace. All
      qualified applicants will receive consideration for employment without regard to race, color, religion, sex,
      sexual orientation, age, national origin, disability, protected veteran status, gender identity or any other
      factor protected by applicable federal, state or local laws.

      Tesla is also committed to working with and providing reasonable accommodations to individuals with
      disabilities. Please let your recruiter know if you need an accommodation at any point during the interview
      process.

      For quick access to screen reading technology compatible with this site click here to download a free
      compatible screen reader (free step by step tutorial can be found here). Please contact
      accommodationrequest@tesla.com for additional information or to request accommodations.

      Privacy is a top priority for Tesla. We build it into our products and view it as an essential part of our
      business. To understand more about the data we collect and process as part of your application, please
      view our Tesla Talent Privacy Notice

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                    EXHIBIT 5
                 FULLY REDACTED
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                    EXHIBIT 6
                 FULLY REDACTED
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                    EXHIBIT 7
                 FULLY REDACTED
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                    EXHIBIT 8
                 FULLY REDACTED
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                    EXHIBIT 9
                 FULLY REDACTED
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                    EXHIBIT 10
                 FULLY REDACTED
Case 1:22-cv-01466-MN Document 85 Filed 09/01/23 Page 29 of 139 PageID #: 4642




                    EXHIBIT 11
                 FULLY REDACTED
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                    EXHIBIT 12
                 FULLY REDACTED
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                    EXHIBIT 13
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                         EXHIBIT 14
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )    C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                      Defendant.                  )

       TESLA, INC.’S INITIAL DISCLOSURES PURSUANT TO PARAGRAPH 3
                OF THE DEFAULT STANDARD FOR DISCOVERY

       Pursuant to Paragraph 3 of the Default Standard for Discovery, Including Discovery of

Electronically Stored Information (Default Standard), Defendant Tesla, Inc. (“Tesla” or

“Defendant”) makes the following disclosures based upon information presently available to it.

These disclosures are based on information now reasonably available to Tesla, without the benefit

of discovery or specific identification or explanation by Plaintiff Autonomous Devices LLC (“AD”

or “Plaintiff”) of their contentions as to U.S. Patent Nos. 10,102,449; 11,055,583; 10,452,974;

11,238,344; 10,607,134; and 11,113,585 (collectively, the “Asserted Patents”). Investigation into

these matters is ongoing, and Tesla reserves the right to supplement or amend these disclosures as

discovery and its investigation proceeds.

I.     CUSTODIANS

       Tesla identifies the following custodians likely to have discoverable information in their

possession, custody, or control. Tesla does not represent that these custodians have relevant

documents in their possession, custody, or control, and does not waive its right to object to the

production of any document or tangible thing in the possession of the custodians on the basis of

any privilege, the work product doctrine, relevance, or any other valid objection. Moreover,

discovery in this case is just beginning, and Tesla’s investigation is ongoing. Accordingly, Tesla
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reserves the right to amend or supplement this list of custodians as discovery continues. Tesla has

attempted to rank these custodians from most likely to possess discoverable information to least

likely, but given the status of discovery, Tesla is unable to rank the relative importance of these

custodians with certainty:

                 Name                            Title                 Potential Subject Matter of
                                                                                Information
 Lane McIntosh                        Staff Autopilot Machine        Design, development, and
                                      Learning Engineer in           operation of the accused products
                                      Autopilot
 Charlie Haley                        Sr. Manager, Finance in        Financials, sales, and marketing of
                                      FP&A and Business              the accused products
                                      Operations
 Phil Duan                            Sr. Staff Autopilot Machine    Design, development, and
                                      Learning Engineer in           operation of the accused products
                                      Autopilot
 Shawn Fox                            Sr. Manager, Business          Sales and marketing of the
                                      Planning in North America      accused products
                                      Sales Operations
 Paul Miranda                         Principal Hardware Design      Design, development, and
                                      Engineer in Silicon            operation of the accused products
                                      Development
 Alex Volante                         Associate, Business            Financials of the accused products
                                      Operations in FP&A and
                                      Business Operations
 Steven Gilbert                       Senior Group Manager,          Components of the accused
                                      Global Supply Management       products
                                      in Purchasing
 Sean Singh                           Manager, Sales & Delivery      Sales and marketing of the
                                      Operations in North            accused products
                                      America Sales Operations


II.    NON-CUSTODIAL DATA SOURCES

       Tesla identifies the following non-custodial data sources that are most likely to contain

non-duplicative discoverable information, ordered from the most likely to the least likely:

       1.         Tesla’s internal Confluence system;

       2.         Tesla’s public website (https://www.tesla.com/).




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III.   NOTICE

       Pursuant to Paragraph 3(c)(i) of the Default Standard and subject to and without waiving

the limitations set forth above, Tesla is presently unaware of any relevant, discoverable and

proportional ESI apart from those categories listed in Schedule A of the Default Standard that is

not reasonably accessible under Fed. R. Civ. P. 26(b)(2)(C)(i).

       Pursuant to Paragraph 3(c)(ii) of the Default Standard and subject to and without waiving

the limitations set forth above, Tesla identifies the following third parties that it may seek discovery

from: third parties having discoverable information relating to products that embody one or more

aspects of the Asserted Patents; third parties having discoverable information relating to licensing

of the Asserted Patents or related patents, patent applications, and technology; third parties

responsible for and/or substantively involved in the preparation and/or prosecution of the Asserted

Patents or related patents and patent applications; and inventors and authors of prior art to the

Asserted Patents. Tesla does not yet have insight into the timing or sequencing of any such

discovery.

       Tesla is currently not aware of any privacy protections that will impact the production of

ESI.




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                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Brian P. Egan
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April 21, 2023




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2023, copies of the foregoing were caused to be served

upon the following in the manner indicated:

 Karen E. Keller, Esquire                                            VIA ELECTRONIC MAIL
 Emily S. DiBenedetto, Esquire
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 Attorneys for Plaintiff


                                                   /s/ Brian P. Egan

                                                   Brian P. Egan (#6227)
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                    EXHIBIT 15
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                         EXHIBIT 16
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                         EXHIBIT 17
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                           )
                                                   )
                      Plaintiff,                   )
                                                   )
       v.                                          )    C.A. No. 22-1466 (MN)
                                                   )
TESLA, INC.,                                       )
                                                   )
                      Defendant.                   )


      TESLA’S 2ND SUPPLEMENTAL RESPONSES AND OBJECTIONS TO
      PLAINTIFF’S FIRST SET OF REQUESTS FOR THE PRODUCTION OF
                        DOCUMENTS AND THINGS
                             (NOS. 30 and 31)

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Tesla, Inc.,

(“Defendant” or “Tesla”) hereby provides the following supplemental responses and

objections to Autonomous Devices LLC’s, (“Plaintiff” or “Autonomous”) First Set of

Requests for Production of Documents to Tesla. The following responses are based upon the

present information and belief and are made subject to the General Objections and Specific

Objections stated below. Tesla reserves the right to amend or supplement any of its discovery

responses. The following responses shall not be construed as a waiver of any objection.

                     GENERAL STATEMENTS AND OBJECTIONS

       1.      Tesla objects to each request, definition, and instruction to the extent it seeks to

impose any burdens inconsistent with or in addition to Tesla’s obligations under the applicable

rules, including the Federal Rules of Civil Procedure and the Local Rules for the District of

Delaware, any order concerning the production of ESI issued by the Court, and/or any other

applicable Orders or Rules.
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        2.      Tesla objects to each request, definition, and instruction to the extent it seeks

information that is protected under, without limitation, the attorney-client privilege, the work

product immunity doctrine, common interest, and/or any other applicable privilege, prohibition,

limitation, or immunity from disclosure. Inadvertent production of such information shall not

constitute the waiver of any applicable privilege, doctrine, immunity, or objection, including, but

not limited to, objections on the basis of competency, confidentiality, relevancy, materiality, work

product, privilege, and/or admissibility as evidence.

        3.      Tesla objects to each request, definition, and instruction to the extent it requires

Tesla to produce information in violation of a legal or contractual obligation of nondisclosure or

confidentiality to a third party.

        4.      Tesla objects to each request, definition, and instruction to the extent it seeks

information that is trade secret and/or confidential or proprietary business information of Tesla.

To the extent that Tesla agrees to produce documents containing such information, it will only do

so subject to a Protective Order that is entered.

        5.      Tesla objects to each request, definition, and instruction to the extent it seeks

information that is already in Plaintiff’s possession or available from a public source as to which

the burden of obtaining such information is the same for Plaintiff as it would be for Tesla. Plaintiff

further objects to each request, definition, and instruction to the extent it calls for Tesla to produce

back to Plaintiff the same documents that Plaintiff has produced to Tesla.

        6.      Tesla objects to each request, definition, and instruction to the extent it is overly

broad, unduly burdensome, oppressive, and/or irrelevant to the subject matter of this action. Tesla

further objects to each request, definition, and instruction to the extent it is not proportional to the

needs of this case. Tesla specifically objects to each document request as overly broad, unduly



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burdensome, and not proportional to the needs of this case to the extent that it is unlimited in

temporal/geographic scope and/or seeks production of “all” and “any” documents on a particular

topic.

         7.    Tesla objects to each document request, instruction or definition to the extent that

it requires Tesla to draw or render a legal conclusion and/or expert opinion.

         8.    Tesla objects to each request, definition, and instruction to the extent it calls for

production of documents or things not in Tesla’s possession, custody, or control. Tesla further

objects to each request, definition, and instruction to the extent it calls for production of documents

not obtainable by means of a reasonably diligent search, including without limitation documents

or things that are not maintained by Tesla in the normal course of business, that are no longer

maintained by Tesla, or that are not reasonably accessible because of undue burden or cost.

         9.    By responding to Plaintiff’s First Set of Requests for Production, Tesla does not

waive any objection that may be applicable to: (a) the use, for any purpose, by Intuitive of any

document provided in response; or (b) the admissibility, relevance, or materiality of any of the

documents provided in response. Moreover, a response stating that Tesla will produce documents

does not constitute an admission that the documents exist, can be located after a reasonable search,

or are reasonably available to Plaintiff.

         10.   Tesla objects to each request as unduly burdensome to the extent that it seeks to

compel the production of documents concurrent with the date on which these responses are due.

Tesla will produce the documents it has agreed to produce reasonably as they are collected after a

Protective Order is entered.

         11.   Discovery is ongoing in this action, and Tesla has not completed its discovery or

investigation into the parties’ claims and defenses. Tesla therefore objects and responds to these



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document requests based upon information in its possession after diligent inquiry at the time of

preparation of these responses. Tesla reserves the right to amend, supplement, and/or correct its

objections or responses as additional information becomes available to Tesla in the course of its

ongoing discovery and investigation.

                              OBJECTIONS TO DEFINITIONS

        12.    Tesla objects to definitions ¶¶ 1, 3–6, 8–12, 16 and 20–27 on the grounds and to

the extent that they are overbroad, unduly burdensome, vague and ambiguous, and seek irrelevant

information.

        13.    Tesla further objects to definition ¶ 5 (“Asserted Patents”) insofar as no additional

patents have been asserted in this case and are therefore outside the scope of this litigation.

        14.    Tesla further objects to definition ¶ 6 (“Accused Instrumentality” and “Accused

Instrumentalities”) as overbroad, unduly burdensome, and irrelevant to the extent it broadens the

scope of Plaintiff’s requests to include documents unrelated to the accused products and

functionality, or any relevant issues in this case.

        15.    Tesla further object to definition ¶ 9 (“Concerning” or “Relating to”) as vague and

ambiguous, overbroad, and unduly burdensome.

        16.    Tesla further object to definition ¶ 10 (“Documents”) as vague and ambiguous,

overbroad, and unduly burdensome.

        17.    Tesla further objects to definition ¶ 17 (“Foreign Counterpart”) insofar as no

additional patents have been asserted in this case and are therefore outside the scope of this

litigation.




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        18.    Tesla further objects to definition ¶ 18 (“Related Applications”) insofar as no

additional patents have been asserted in this case and are therefore outside the scope of this

litigation.

        19.    Tesla further objects to definition ¶ 18 (“Related Patents”) insofar as no additional

patents have been asserted in this case and are therefore outside the scope of this litigation.

REQUEST FOR PRODUCTION NO. 1:

      All Documents identified in Tesla’s initial disclosures under Federal Rule of Civil
Procedure 26(a) or used, relied on, or considered by Tesla in drafting its initial disclosures.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

is seeks production of “all” documents. Tesla further objects to this Request as overly broad, vague

and ambiguous with respect to the phrase “used, relied on or considered.”

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control constituting documents referred to

or cited in its initial disclosures. Tesla does not agree to search for and produce other documents

that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 2:

         All Documents received by Tesla in response to any subpoenas propounded by Tesla in
this litigation.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

        Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent is seeks production of “all” documents.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to produce non-privileged documents within its possession, custody, or

control constituting documents received in response to any subpoenas propounded by Tesla in this

litigation.

        Tesla will produce the identified documents on a rolling basis as they are received from

third parties.

REQUEST FOR PRODUCTION NO. 3:

       All Documents identified in Tesla’s responses to all interrogatories and requests for
admissions or used, relied on, or considered by Tesla in drafting its responses to interrogatories or
requests for admissions.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

        Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent is seeks production of “all” documents. Tesla further objects to

this Request as overly broad, vague and ambiguous with respect to the phrase “used, relied on or

considered.” Tesla further objects to this request to the extent it seeks production of documents

protected by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:



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       Tesla agrees to produce non-privileged documents within its possession, custody, or

control identified in Tesla’s responses to Plaintiff’s interrogatories and requests for admissions.

Tesla does not agree to search for and produce other documents that may be responsive to this

Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 4:

       All Documents that support, refute, or otherwise relate to any claim, defense, allegation, or
potential remedy in this lawsuit.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent is seeks production of “all” documents. Tesla further objects to

this Request as vague, ambiguous and not proportional to the needs of this case with respect to the

phrase “relate to” and “any claim, defense, allegation, or potential remedy.” Tesla further objects

to this request to the extent it requires Tesla to draw a legal conclusion. Tesla further objects to

this request to the extent it seeks production of documents protected by attorney-client privilege

or work product privilege.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce other documents that may be responsive to

this Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 4
(7/7/2025):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: This request effectively seeks all documents potentially within the scope of

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FRCP 26(b)(1) without regard to proportionality, subsuming the entire scope of discovery in this

case. This request provides no guidance as to what specific documents AD is requesting that Tesla

actually search for. This request is vague, seeks legal conclusions, and is disproportionate to the

needs of this case. Tesla will produce documents in support of its legal contentions pursuant to the

Scheduling Order.

REQUEST FOR PRODUCTION NO. 5:

        All Documents relating to any defense or counterclaim that You have asserted or intend to
assert in this litigation.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

is seeks production of “all” documents. Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to this request to the extent it requires Tesla to draw a legal conclusion. Tesla further objects

to this request as premature to the extent it seeks production of documents relating to any defenses

or counterclaims Tesla has not yet asserted before Plaintiff has provided adequate discovery. Tesla

further objects to this request to the extent it seeks production of documents protected by attorney-

client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to produce non-privileged documents within its possession, custody, or

control that it intends to rely on in support its defenses in this litigation.

        Tesla will produce the identified documents in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.


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REQUEST FOR PRODUCTION NO. 6:

        Documents sufficient to describe all Tesla electronic data and document retention policies.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case with respect

to the phrase “all Tesla electronic data and document retention policies.”

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist,

responsive, non-privileged documents within its possession, custody, or control sufficient to

describe the electronic data and document retention policies of Tesla’s Autonomous Driving

group. Tesla does not agree to search for and produce other documents that may be responsive to

this Request.

        Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 7:

        For each person Tesla intends to use as an expert witness: (a) a resume or curriculum vitae
sufficient to describe that person’s complete education, experience, and training; (b) all
publications, articles, books, and papers authored, co-authored, edited, or otherwise generated by
that person; (c) all transcripts of any trial, deposition, or other testimony of that person in any other
proceeding relating to autonomous driving, or training of vehicles for autonomous driving; (d) all
Documents provided to that person in connection with this lawsuit; and (e) all Documents relied
on by that person in forming any opinions that have been or may be offered in this lawsuit.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

        Tesla incorporates by reference its General Objections. Tesla further objects to this request

as premature to the extent it seeks identification of experts before expert discovery. Tesla further

objects to this request to the extent it seeks production of documents protected by attorney-client

privilege or work product privilege.

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       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to disclose its expert witnesses in accordance with the Scheduling Order

(D.I. 25) and Protective Order in this case. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

REQUEST FOR PRODUCTION NO. 8:

       All Documents relating to Jasmin Cosic, or Autonomous Devices.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

is seeks production of “all” documents. Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to this request to the extent it seeks production of documents protected by attorney-client

privilege or work product privilege.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist,

responsive, non-privileged documents within its possession, custody, or control relating to Jasmin

Cosic or Autonomous Devices.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 9:

      All Documents relating to Asserted Patents, any Related Patent(s), or any Foreign
Counterpart, including any Tesla patent or patent application that have cited the Asserted Patents.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all” documents. Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to this request to the extent it seeks production of documents protected by attorney-client

privilege or work product privilege. Insofar as there have been no other patents asserted in this

case, Tesla objects to this request to the extent it is outside the scope of this litigation. Subject to

its objections, Tesla responds as follows:

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents responsive to this Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 9
(7/7/2025):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control responsive to this

request, limited to non-public documents referring to the asserted patents or referring to patents

and applications directly related to the asserted patents.

REQUEST FOR PRODUCTION NO. 10:

        All documents and things referring or relating to any written or oral opinions, including
any such opinions and any evaluations, searches, studies, investigations, analyses, reviews, reports,
or observations concerning the infringement or non-infringement, validity or invalidity and/or
enforceability or unenforceability of the Asserted Patents or any Related Application, or Related
Patent.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents and things”. Tesla further objects to this Request as vague,

ambiguous and not proportional to the needs of this case with respect to the phrase “referring or

relating to,” “concerning” and “any evaluations, searches, studies, investigations, analyses,

reviews, reports or observations.” Tesla further objects to this request to the extent it seeks

production of documents protected by attorney-client privilege or work product privilege. Insofar

as there have been no other patents asserted in this case, Tesla objects to this request to the extent

it is outside the scope of this litigation.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla is not aware of any non-privileged documents responsive to this Request.

REQUEST FOR PRODUCTION NO. 11:

        All Documents relating to any Prior Art collected, identified, or considered in relation to
any Asserted Patent or any Related Patent, including existing English translations of any foreign
patent or publication.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case to the extent it seeks production

of “all” documents. Tesla further objects to this Request as overly burdensome, vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “collected, identified or

considered” and “in relation to.” Tesla further objects to this Request as improperly and

prematurely calling for information concerning Tesla’s contentions and to the extent it seeks

legal/expert opinion or analysis. Tesla further objects to this Request to the extent it seeks

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production of documents protected by attorney-client privilege or work product privilege. Insofar

as there have been no other patents asserted in this case, Tesla objects to this request to the extent

it is outside the scope of this litigation.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist,

responsive, non-privileged documents within its possession, custody, or control constituting prior

art to the Asserted Patents.

        Tesla will produce the identified documents in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 12:

        All Documents relating to any evidence of the obviousness or non-obviousness of any
subject matter claimed in any Asserted Patent.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

        Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent it seeks production of “all” documents. Tesla further objects to

this Request as vague, ambiguous and not proportional to the needs of this case with respect to the

phrase “relating to” and “any evidence.” Tesla further objects to this Request as improperly and

prematurely calling for information concerning Tesla’s contentions and to the extent it seeks

legal/expert opinion or analysis. Tesla further objects to this Request to the extent it seeks

production of documents protected by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:


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       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist,

responsive, non-privileged documents within its possession, custody, or control constituting

evidence of the obviousness of the Asserted Patents.

       Tesla will produce the identified documents in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 13:

       All documents that refer or relate to whether:

              the inventions claimed in the Asserted Patents satisfied one or more long-felt needs
               in the art;
              each Accused Instrumentality has enjoyed commercial success;
              any person has recognized the significance of the inventions of the Asserted
               Patents;
              any person has recognized the significance of the contributions of the inventors of
               the Asserted Patents to the field of the Asserted Patents;
              any person expressed initial skepticism about the inventions of the Asserted
               Patents;
              any person has acknowledged the validity of the Asserted Patents;
              any person has copied the inventions of the Asserted Patents;
              any person has incorporated the inventions of the Asserted Patents into any
               subsequent patent filing or device;
              there was a long-felt need in the industry to obtain the Accused Instrumentalities;
               or
              any documents or things concerning or evidencing a belief that any party or person
               achieved commercial success using the inventions of the Asserted Patents.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case to the extent it seeks production

of “all” documents or “any documents or things.” Tesla objects to this Request as vague,

ambiguous and not proportional to the needs of this case with respect to the phrase “refer or relate

to;” “any person” or “concerning or evidencing.” Tesla further objects to the phrase “Accused

Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the


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scope of Plaintiff’s requests to include documents unrelated to the accused products and

functionality, or any relevant issues in this case. Tesla further objects to this Request to the extent

it seeks information that is already in Plaintiff’s possession or available from a public source as to

which the burden of obtaining such information is the same for Plaintiff as it would be for Tesla.

Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla. Tesla further objects to this Request to

the extent it requires Tesla to draw a legal conclusion. Subject to its objections, Tesla responds as

follows:

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist,

responsive, non-privileged documents within its possession, custody, or control constituting

objective indicia of non-obviousness of the Asserted Patents.

       Tesla will produce the identified documents in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 14:

        All documents and things relating to industry analysis, commentary, or recognition of
deficiencies of and/or needs met by the Accused Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case to the extent it seeks production

of “all documents and things.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relating to.” Tesla further objects

to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the


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extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the accused

products and functionality, or any relevant issues in this case. Tesla further objects to this Request

to the extent it seeks information that is already in Plaintiff’s possession or available from a public

source as to which the burden of obtaining such information is the same for Plaintiff as it would

be for Tesla. Tesla further objects to this Request to the extent it seeks information that is trade

secret and/or confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show industry

analysis, commentary, or recognition of deficiencies of and/or needs met by Enhanced Autopilot,

FSD, and Dojo. Tesla does not agree to search for and produce other documents that may be

responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 15:

        All documents and things relating to the advantages, if any, offered by the Accused
Instrumentalities over competitor products and any evidence of such advantages, including
communications among Tesla’s, their customers, or licensees concerning any such advantages as
well as any surveys concerning customer preferences.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents and things.” Tesla further objects to this Request as vague,

ambiguous and not proportional to the needs of this case with respect to the phrase “relating to”

and “communications.” Tesla further objects to the phrase “Accused Instrumentalities” as


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overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla further objects to this Request to the extent it seeks information that is

already in Plaintiff’s possession or available from a public source as to which the burden of

obtaining such information is the same for Plaintiff as it would be for Tesla. Tesla further objects

to Request to the extent it seeks information that is trade secret and/or confidential or proprietary

business information of Tesla. Tesla objects to this Request to the extent it requires Tesla to

produce information in violation of a legal or contractual obligation of nondisclosure or

confidentiality to a third party.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the advantages,

if any, offered by Enhanced Autopilot, FSD, and Dojo. Tesla does not agree to search for and

produce other documents that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 16:

        All documents concerning the realized or expected commercial success, commercial
performance, customer satisfaction, customer demand, critiques, problems, shortcomings,
challenges, technical success, technical performance, financial performance, financial impact,
suitability, competitive position, and/or market position of the Accused Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous


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and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

accused products and functionality, or any relevant issues in this case. Tesla further objects to this

Request to the extent it seeks information that is already in Plaintiff’s possession or available from

a public source as to which the burden of obtaining such information is the same for Plaintiff as it

would be for Tesla. Tesla further objects to this Request to the extent it seeks information that is

trade secret and/or confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the commercial

success of Enhanced Autopilot and FSD. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 17:

        All Documents relating to whether or why any Accused Instrumentality may or may not
infringe any Asserted Patent.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent it seeks production of “all documents.” Tesla objects to this

Request as vague, ambiguous and not proportional to the needs of this case with respect to the

phrase “relating to.” Tesla further objects to the phrase “Accused Instrumentalities” as overbroad,


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unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to

include documents unrelated to the accused products and functionality, or any relevant issues in

this case. Tesla further objects to this Request as improperly and prematurely calling for

information concerning Tesla’s contention ns and to the extent it seeks legal/expert opinion or

analysis. Tesla further objects to this request to the extent it requires Tesla to draw a legal

conclusion. Tesla further objects to this Request to the extent it seeks production of documents

protected by attorney-client privilege or work product privilege.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce, to the extent any non-privileged documents within its possession,

custody, or control that it intends to rely on to show why the accused products do not infringe

asserted claims of the Asserted Patents. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

       Tesla will produce the identified documents in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 18:

       All Documents relating to Tesla’s first awareness of each Asserted Patent.

RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relating to.” Tesla further objects

to this Request to the extent it seeks production of documents protected by attorney-client privilege

or work product privilege.

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          Subject to and without waiving its General and Specific objections, Tesla responds as

follows

          Tesla first became aware of the Asserted Patents upon the filing of the complaint in this

case. Aside from the complaint, Tesla is not aware of any non-privileged documents responsive

to this Request.

REQUEST FOR PRODUCTION NO. 19:

       All Documents relating to any attempts to design around or modify the Accused
Instrumentalities to avoid infringement of any Asserted Patent.

RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

          Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

accused products and functionality, or any relevant issues in this case. Tesla further objects to this

Request to the extent it seeks production of documents protected by attorney-client privilege or

work product privilege. Tesla further objects to this request to the extent it requires Tesla to draw

a legal conclusion. Tesla objects to this Request to the extent it seeks information that is trade

secret and/or confidential or proprietary business information of Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

          Tesla is not aware of any documents responsive to this Request.




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REQUEST FOR PRODUCTION NO. 20:

       All documents concerning any effort or analysis by you to or redesign the Accused
Instrumentalities so as to avoid infringement of the Asserted Patents, the costs of all design around
options analyzed, the time spent on such analysis, the estimated time to market for such a design-
around, whether the design-around had or has any potential compatibility issues and, if so, the
options analyzed to address those issues, whether the design-around had any impact (however
measured) on the performance of the systems and services, and the estimated costs that such a
design would have added to any product or functionality.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “concerning” and “any

effort or analysis by you.” Tesla further objects to the phrase “Accused Instrumentalities” as

overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla further objects to this Request to the extent it seeks production of

documents protected by attorney-client privilege or work product privilege. Tesla further objects

to this request to the extent it requires Tesla to draw a legal conclusion. Tesla objects to this

Request to the extent it seeks information that is trade secret and/or confidential or proprietary

business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla is not aware of any documents responsive to this request.




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REQUEST FOR PRODUCTION NO. 21:

       All documents and things concerning any policies or procedures of Tesla for determining
whether any of its products, or its manufacture, offer for sale, sale, or use has infringed, or would
or might infringe, the patent rights of another.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents and things.” Tesla further objects to this Request as vague,

ambiguous and not proportional to the needs of this case with respect to the phrase “concerning”

and “any policies or procedures.” Tesla further objects to this Request to the extent it seeks

production of documents protected by attorney-client privilege or work product privilege. Tesla

objects to this Request to the extent it seeks information that is trade secret and/or confidential or

proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla is not aware of any non-privileged documents that are responsive to this Request.



REQUEST FOR PRODUCTION NO. 22:

       All Documents relating to the meaning or scope of the claims in any Asserted Patent,
including any documents on which Tesla may rely to support any construction or interpretation of
any claim limitation.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent it seeks production of “all documents” and “any documents.”

Tesla objects to this Request as vague, ambiguous and not proportional to the needs of this case

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with respect to the phrase “relating to”; “meaning or scope”; “rely on to support” and “any

construction or interpretation.” Tesla further objects to this Request to the extent it seeks

production of documents protected by attorney-client privilege or work product privilege. Tesla

further objects to this request as premature to the extent it seeks production of documents relating

to claim construction before Plaintiff has provided adequate discovery. Tesla further objects to this

Request as improperly and prematurely calling for information concerning Tesla’s contentions and

to the extent it seeks legal/expert opinion or analysis. Tesla further objects to this Request to the

extent it seeks information that is already in Plaintiff’s possession or available from a public source

as to which the burden of obtaining such information is the same for Plaintiff as it would be for

Tesla.

         Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

         Tesla will produce any documents Tesla may rely on to support any construction or

interpretation of any claim limitation in accordance with the Scheduling Order (D.I. 25) in this

case, and will otherwise produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 23:

        All Documents relating to the level of technical knowledge, schooling, experience, and
expertise of a person having ordinary skill in the art of any subject matter claimed in the Asserted
Patents.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to.” Tesla further

objects to this Request to the extent it seeks production of documents protected by attorney-client

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privilege or work product privilege. Tesla further objects to this request as premature to the extent

it seeks production of documents relating to level of skill in the art prior to expert discovery. Tesla

further objects to this Request to the extent it seeks information that is already in Plaintiff’s

possession or available from a public source as to which the burden of obtaining such information

is the same for Plaintiff as it would be for Tesla. Tesla further objects to this request to the extent

it requires Tesla to draw a legal conclusion and render an expert opinion.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce documents sufficient to show the level of ordinary skill in the art

and will do so in accordance with the Scheduling Order (D.I. 25) in this case, and will otherwise

produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 24:

      All Documents concerning feature requests or functionality requests Your customers’ have
made over the course of the Accused Instrumentalities’ development.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “concerning;” “feature

requests or functionality requests” and “over the course of.” Tesla objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla. Tesla objects to this Request to the extent it requires Tesla to produce

information in violation of a legal or contractual obligation of nondisclosure or confidentiality to

a third party. Tesla objects to this Request to the extent it requests information about features of


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the Accused Instrumentality Plaintiff does not allege infringe the asserted patents, which are

outside the scope of this litigation.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 24
(7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control responsive to this

request, limited to feature requests or functionality requests by Tesla’s customers for FSD or EAP.

REQUEST FOR PRODUCTION NO. 25:

      Documents sufficient to show the user interface (if any) for each Accused Instrumentality
from October 16, 2018 to date.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

        Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

“Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

and functionality, or any relevant issues in this case.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

Request.



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FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 25
(7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla does not agree to search for and produce documents “sufficient to show

the user interface” of its products, as this information is not relevant to any party’s claim or defense

and is disproportionate to the needs of the case.

REQUEST FOR PRODUCTION NO. 26:

        All Documents relating to the design, development, functionality, or testing of any Accused
Instrumentality, including specifications, requirement documents, schematics, manuals, drawings,
guides, instructions, layouts, and notebook entries, programming instructions, and source code.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relating to.” Tesla further objects

to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the

extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the accused

products and functionality, or any relevant issues in this case. Tesla further objects to this Request

to the extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the design and

functionality of relevant aspects of Enhanced Autopilot, FSD, and Dojo in accordance with the


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Scheduling Order (D.I. 25) in this case, and will otherwise produce the identified documents on a

rolling basis. Tesla does not agree to search for and produce other documents that may be

responsive to this Request.

REQUEST FOR PRODUCTION NO. 27:

        All documents concerning improvements, additions, new features, new functionalities,
updates, revisions, and alterations to the Accused Instrumentalities, including the reasons,
justification, analysis, and basis for any such improvements, additions, new features, new
functionalities, updates, revisions, and alterations.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “concerning” and “reasons,

justification, analysis, and basis”. Tesla further objects to the phrase “Accused Instrumentalities”

as overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla further objects to this Request to the extent it seeks information that is

trade secret and/or confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 27
(7/7/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

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exist, non-privileged documents within its possession, custody, or control responsive to this

request, limited to documents sufficient to show “improvements, additions, new features, new

functionalities, updates, revisions, and alterations” that have been implemented in FSD or EAP.

REQUEST FOR PRODUCTION NO. 28:

        All documents concerning any expected or realized benefits (to you or to your customers
or potential customers) associated with offering the Accused Instrumentalities, whether technical
or financial.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “concerning” and “expected or

realized benefits”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad,

unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to

include documents unrelated to the accused products and functionality, or any relevant issues in

this case. Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla. Tesla objects to this Request to the extent

it requires Tesla to produce information in violation of a legal or contractual obligation of

nondisclosure or confidentiality to a third party.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents that may be responsive to this

Request.




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FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 28
(7/7/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control responsive to this

request, limited to documents sufficient to show benefits associated with FSD or EAP.

REQUEST FOR PRODUCTION NO. 29:

        All Documents relating to the features and functionality accused of infringement, including
specifications, requirement documents, schematics, manuals, drawings, guides, instructions,
layouts, and notebook entries, programming instructions, and source code.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relating to”. Tesla objects to this

Request to the extent it seeks information that is trade secret and/or confidential or proprietary

business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the features and

functionality accused of infringement and will do so in accordance with the Scheduling Order

(D.I. 25) in this case, and will otherwise produce the identified documents on a rolling basis.

       Tesla will produce the identified documents on a rolling basis.




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REQUEST FOR PRODUCTION NO. 30:

       All Documents generated or used during the research and development of the Accused
Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent it seeks production of “all documents.” Tesla objects to this

Request as vague, ambiguous and not proportional to the needs of this case with respect to the

phrase “generated or used.” Tesla further objects to the phrase “Accused Instrumentalities” as

overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla objects to this Request to the extent it seeks information that is trade

secret and/or confidential or proprietary business information of Tesla. Tesla objects to this

Request to the extent it requires Tesla to produce information outside the scope of this litigation.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 30
(7/7/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla does not agree to search for and produce documents “generated or used

during the research and development of the Accused Instrumentalities,” as this information is not

relevant to any party’s claim or defense and is disproportionate to the needs of the case.



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SECOND SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 30
(8/23/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla agrees to conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control sufficient to show

Tesla’s research and development of relevant aspects of Enhanced Autopilot, FSD, Dojo, and the

NVIDIA GPU Cluster.

REQUEST FOR PRODUCTION NO. 31:

       All documents, data files, memoranda, slide decks, meeting minutes, white papers,
presentations and other records, documenting the research and development of the Accused
Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

        Tesla incorporates by reference its General Objections. Tesla further objects to this

Request as overly burdensome, vague, ambiguous and not proportional to the needs of this case to

the extent it seeks production of “all documents.” Tesla further objects to this Request as vague,

ambiguous and not proportional to the needs of this case with respect to the phrase “documenting”.

Tesla further objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome,

and irrelevant to the extent it broadens the scope of Plaintiff’s requests to include documents

unrelated to the accused products and functionality, or any relevant issues in this case. Tesla

objects to this Request to the extent it seeks information that is trade secret and/or confidential or

proprietary business information of Tesla. Tesla objects to this Request to the extent it requires

Tesla to produce information outside the scope of this litigation.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:




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       Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 31
(7/7/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla does not agree to search for and produce documents “All documents

. . . documenting the research and development of the Accused Instrumentalities,” as this

information is not relevant to any party’s claim or defense and is disproportionate to the needs of

the case.

SECOND SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 31
(8/23/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla agrees to conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control sufficient to show

Tesla’s research and development of relevant aspects of Enhanced Autopilot, FSD, Dojo, and the

NVIDIA GPU Cluster.

REQUEST FOR PRODUCTION NO. 32:

        All documents and things related to investor events and presentations, including earnings
conference calls, webcasts, or other events or presentations, concerning the Accused
Instrumentalities, including video or audio recordings, transcripts, outlines, speaking points, slides,
posters, or handouts including at least the following:

                  Tesla AI Day 2022 (https://www.youtube.com/watch?v=ODSJsviD_SU);
                  Tesla AI Day 2021 (https://www.youtube.com/watch?v=j0z4FweCy4M);
                  Tesla Autonomy Day (https://www.youtube.com/watch?v=Ucp0TTmvqOE);
                  Tesla Unveils Dual Motor and Autopilot
                   (https://www.youtube.com/watch?v=FZ6lZJWL_Xk&list=RDCMUC5WjFrtBdu
                   fl6CZojX3D8dQ&index);
                  Full Self Driving
                   (https://www.youtube.com/watch?v=tlThdr3O5Qo&list=RDCMUC5WjFrtBdufl
                   6CZojX3D8dQ&index);


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                   Tesla Q2 2022 Financial Results and Q&A Webcast
                    (https://www.youtube.com/watch?v=kwpYe1Empwo&list=RDCMUC5WjFrtBdu
                    fl6CZojX3D8dQ&index);
                   Tesla Q4 and full year 2021 Financial Results and Q&A Webcast
                    (https://www.youtube.com/watch?v=EMA6myXpfqI&list=RDCMUC5WjFrtBdu
                    fl6CZojX3D8dQ&index);
                   Model 3 Guide | Navigate on Autopilot
                    (https://www.youtube.com/watch?v=IkSw2SZQENU&list=RDCMUC5WjFrtBd
                    ufl6CZojX3D8dQ&index);
                   Model S+X Guide | Navigate on Autopilot
                    (https://www.youtube.com/watch?v=hif8pe80Xxs&list=RDCMUC5WjFrtBdufl6
                    CZojX3D8dQ&index);
                   Enhance your commute with Autopilot
                    (https://www.youtube.com/watch?v=jWreyC2l-dw).

RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “related to” and “investor

events and presentations”. Tesla further objects to the phrase “Accused Instrumentalities” as

overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla objects to this Request to the extent it seeks information that is trade

secret and/or confidential or proprietary business information of Tesla. Tesla objects to this

Request to the extent it requires Tesla to produce information in violation of a legal or contractual

obligation of nondisclosure or confidentiality to a third party. Tesla further objects to this Request

to the extent it seeks information that is already in Plaintiff’s possession or available from a public

source as to which the burden of obtaining such information is the same for Plaintiff as it would

be for Tesla.




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       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the investor

events and presentations listed in this Request. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 33:

       Source code, comments, change logs, and notes for each version (including minor releases,
bug fixes, and rejected code) of every Accused Instrumentality from October 16, 2018 to date.

RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

       Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

“Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce documents sufficient to describe the relevant functionalities

accused of infringement in this case. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

REQUEST FOR PRODUCTION NO. 34:

      Two source code computers with source code for each Accused Instrumentality from
October 16, 2018 to date.

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RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

       Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

“Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce documents sufficient to describe the relevant functionalities

accused of infringement in this case. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.



REQUEST FOR PRODUCTION NO. 35:

       All training materials (including videos and wikis) provided to new employees of the
software development team regarding the source code, architecture, technology stack, history, and
FAQs concerning the Accused Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case with respect to the phrase

“regarding” and “concerning”. Tesla further objects to the phrase “Accused Instrumentalities” as

overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

requests to include documents unrelated to the accused products and functionality, or any relevant

issues in this case. Tesla further objects to this Request to the extent it seeks information that is

already in Plaintiff’s possession or available from a public source as to which the burden of

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obtaining such information is the same for Plaintiff as it would be for Tesla. Tesla objects to this

Request to the extent it seeks information that is trade secret and/or confidential or proprietary

business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 35
(8/23/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows:

REQUEST FOR PRODUCTION NO. 36:

        A specifications related to the source code of the Accused Instrumentalities (including each
version thereof), including software quality assurance specifications, software configuration
management specifications, software test documentation specifications, software requirements
specifications, software verification and validation specifications, software design description
specifications, software project management specifications, software user documentation
specifications, software reviews and audit specifications, system requirements specifications,
concept of operations specifications, requirements engineering specifications, technical
specifications, formal specifications, user stories, user story maps, and use cases.

RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case with respect to the phrase

“related to”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad, unduly

burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to include

documents unrelated to the accused products and functionality, or any relevant issues in this case.

Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla.

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       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce documents sufficient to describe the relevant functionalities

accused of infringement in this case. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.

REQUEST FOR PRODUCTION NO. 37:

        For each Accused Instrumentality, produce all datasheets, design guides, technical
specifications, engineering protocols, product guides, and product manuals created or published
for external use, internal use, and/or those that are shared between partner companies.

RESPONSE TO REQUEST FOR PRODUCTION NO. 37:

       Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

“Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

extent it seeks information that is already in Plaintiff’s possession or available from a public source

as to which the burden of obtaining such information is the same for Plaintiff as it would be for

Tesla. Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to produce documents sufficient to describe the relevant functionalities

accused of infringement in this case. Tesla does not agree to search for and produce other

documents that may be responsive to this Request.




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REQUEST FOR PRODUCTION NO. 38:

       All documents concerning each internal product name, designation, product number,
version number, and corresponding marketing part number, name, and/or designation of the
Accused Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 38:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “concerning”. Tesla further objects

to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the

extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the accused

products and functionality, or any relevant issues in this case. Tesla objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla. Tesla further objects to this Request to the extent it seeks information that is

already in Plaintiff’s possession or available from a public source as to which the burden of

obtaining such information is the same for Plaintiff as it would be for Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the internal

names and designations for Enhanced Autopilot, FSD, and Dojo. Tesla does not agree to search

for and produce additional documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.




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REQUEST FOR PRODUCTION NO. 39:

       Produce every manual, instruction sheet, brochure, specification, user guide, and customer
guide for each commercially available model, and each variation of each model, of the Accused
Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 39:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case with respect to the phrase

“every”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad, unduly

burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to include

documents unrelated to the accused products and functionality, or any relevant issues in this case.

Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla. Tesla further objects to this Request to

the extent it seeks information that is already in Plaintiff’s possession or available from a public

source as to which the burden of obtaining such information is the same for Plaintiff as it would

be for Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show user manuals

and guides relating to Enhanced Autopilot and FSD. Tesla does not agree to search for and produce

additional documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 40:

        All Documents relating to any advantages or disadvantages of any feature or functionality
accused of infringement, including documents relating to any features that drive consumer demand
for any Accused Instrumentality.

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RESPONSE TO REQUEST FOR PRODUCTION NO. 40:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “relating to”; “any

advantages or disadvantages” or “any feature or functionality”. Tesla further objects to the phrase

“Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the advantages

or disadvantages of the features and functionalities accused of infringement. Tesla does not agree

to search for and produce additional documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 41:

       All documents comparing, contrasting, weighing, and/or analyzing the relative advantages
and disadvantages of the Accused Instrumentalities and other similar products.

RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent


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it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relative advantages and

disadvantages”. Tesla further objects to the phrase “Accused Instrumentalities and other similar

products” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of

Plaintiff’s requests to include documents unrelated to the accused products and functionality, or

any relevant issues in this case. Tesla objects to this Request to the extent it seeks information that

is trade secret and/or confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla does not agree to search for and produce documents that may be responsive to this

Request.

FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 41
(7/7/2023):

       Subject to and without waiving its general and specific objections, Tesla supplements its

response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

exist, non-privileged documents within its possession, custody, or control responsive to this

request, limited to comparisons of FSD or EAP with other products.



REQUEST FOR PRODUCTION NO. 42:

       All technical papers, reviews, white papers, internal memoranda, conference proceedings,
book chapters, articles, publications, or technical presentations (published or unpublished) that
include discussions, analysis, or any other content concerning the Accused Instrumentalities.

RESPONSE TO REQUEST FOR PRODUCTION NO. 42:

       Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as vague, ambiguous and not proportional to the needs of this case with respect to the phrase


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“concerning”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad, unduly

burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to include

documents unrelated to the accused products and functionality, or any relevant issues in this case.

Tesla objects to this Request to the extent it seeks information that is trade secret and/or

confidential or proprietary business information of Tesla.

       Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

       Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to sufficient to show the

design and functionality of relevant aspects of Enhanced Autopilot, FSD, and Dojo. Tesla does not

agree to search for and produce other documents that may be responsive to this Request.

       Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 43:

        All Documents relating to any patent, invention disclosure, or patent application, whether
pending or abandoned, owned by, assigned to, or filed on behalf of Tesla, relating to autonomous
driving, or training of a vehicle for autonomous driving or any Accused Instrumentality, or that
cites an Asserted Patent or a Related Patent.

RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

       Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

the needs of this case to the extent it seeks production of “all documents.” Tesla objects to this

Request as vague, ambiguous and not proportional to the needs of this case with respect to the

phrase “relating to”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad,

unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to

include documents unrelated to the accused products and functionality, or any relevant issues in


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this case. Insofar as there have been no other patents asserted in this case, Tesla objects to this

request to the extent it is outside the scope of this litigation. Tesla objects to this Request to the

extent it seeks information that is trade secret and/or confidential or proprietary business

information of Tesla. Tesla further objects to this request to the extent it seeks production of

documents protected by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla is not aware of any non-privileged documents that are responsive to this Request.

REQUEST FOR PRODUCTION NO. 44:

       All Documents relating to the first disclosure, first use, first offer for sale, first sale, first
importation, first demonstration, and first test of each Accused Instrumentality.

RESPONSE TO REQUEST FOR PRODUCTION NO. 44:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

proportional to the needs of this case with respect to the phrase “relating to”. Tesla further objects

to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the

extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the accused

products and functionality, or any relevant issues in this case.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

privileged documents within its possession, custody, or control sufficient to show the first use and




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sale of Enhanced Autopilot, FSD, and Dojo. Tesla does not agree to search for and produce

additional documents that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

REQUEST FOR PRODUCTION NO. 45:

        All documents concerning your decision to continue to develop, make, use, sell or offer for
sale the Accused Instrumentalities after becoming aware of the Asserted Patents, including
whether you may need a license to the Asserted Patents or whether you may have liability with
respect to the Asserted Patents.

RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

and not proportional to the needs of this case with respect to the phrase “concerning”. Tesla further

objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

accused products and functionality, or any relevant issues in this case. Tesla further objects to this

request to the extent it seeks production of documents protected by attorney-client privilege or

work product privilege. Insofar as there have been no other patents asserted in this case, Tesla

objects to this request to the extent it is outside the scope of this litigation.

        Subject to and without waiving its General and Specific objections, Tesla responds as

follows:

        Tesla is not aware of any non-privileged documents that are responsive to this Request.

REQUEST FOR PRODUCTION NO. 46:

        With respect to the Accused Instrumentalities, all documents concerning the first date of
the actual or expected:

                   use of the Accused Instrumentalities;

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                   sale of the Accused Instrumentalities;
                   offer for sale of the Accused Instrumentalities;
                   import of the Accused Instrumentalities into the United States; or
                   export of the Accused Instrumentalities from the United States.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show the first use and

 sale of Enhanced Autopilot, FSD, and Dojo. Tesla does not agree to search for and produce

 additional documents that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 47:

         All documents that relate to your organizational structure(s) for the (a) engineering,
 design, and research and development, (b) licensing, (c) manufacture and testing, (d)
 distribution, and (e) marketing (including through websites, such as Tesla.com), sales, and
 promotion of the Accused Instrumentalities, including documents identifying all persons in
 executive or operational management positions.




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 RESPONSE TO REQUEST FOR PRODUCTION NO. 47:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relate to”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case. Tesla further objects to this

 request as overly broad and not proportional to the needs of the case to the extent it is unbounded

 in time.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show the current

 organizational structure(s) of Tesla relating to sales, Enhanced Autopilot, FSD, and Dojo. Tesla

 does not agree to search for and produce additional documents that may be responsive to this

 Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 48:

         All Documents relating to the decision to develop any Accused Instrumentality, including
 documents relating to the potential market for each product, potential competitors, and third-party
 patent rights.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 48:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

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 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case. Tesla further objects to this

 request to the extent it seeks production of documents protected by attorney-client privilege or

 work product privilege. Insofar as there have been no other patents asserted in this case, Tesla

 objects to this request to the extent it is outside the scope of this litigation. Tesla objects to this

 Request to the extent it seeks information that is trade secret and/or confidential or proprietary

 business information of Tesla. Tesla further objects to this Request to the extent it requires Tesla

 to produce information in violation of a legal or contractual obligation of nondisclosure or

 confidentiality to a third party. Subject to its objections, Tesla responds as follows:

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 48
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited the decision to develop FSD or EAP.

 REQUEST FOR PRODUCTION NO. 49:

        All Documents relating to the manufacture of any Accused Instrumentality, including
 product drawings, schematics, manuals, and test protocols.

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 RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case. Tesla further objects to this

 Request to the extent it seeks information that is trade secret and/or confidential or proprietary

 business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to sufficient to show the

 design and functionality of relevant aspects of Enhanced Autopilot, FSD, and Dojo. Tesla does

 not agree to search for and produce other documents that may be responsive to this Request.

 REQUEST FOR PRODUCTION NO. 50:

        All documents concerning your investment or capital expenditures in the Accused
 Instrumentalities, including, without limitation, your investment in research and development.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 50:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”; “concerning”


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 and “investment or capital expenditures”. Tesla further objects to the phrase “Accused

 Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the

 scope of Plaintiff’s requests to include documents unrelated to the accused products and

 functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it seeks

 information that is trade secret and/or confidential or proprietary business information of Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show Tesla’s

 investment in research and development relating to the functionalities accused of infringement.

 Tesla does not agree to search for and produce additional documents that may be responsive to

 this Request.

          Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 51:

         Documents sufficient to show the locations of each step of the manufacture and
 testing of each Accused Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 51:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.




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         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 51
 (7/7/2023):

         Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to the locations of manufacture for the accused products and the testing of FSD or

 EAP.

 REQUEST FOR PRODUCTION NO. 52:

       Documents sufficient to show the locations where the Accused Products are or were
 manufactured, developed, imported, exported, transmitted, sold, and offered for sale and
 whether any party other than you was involved in the manufacture, development,
 importation, exportation, transmission, sale, or offer for sale.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 52:

         Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Products” as vague, ambiguous, and undefined. Tesla objects to this Request to the

 extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla objects to this Request to the extent it requires Tesla to produce

 information in violation of a legal or contractual obligation of nondisclosure or confidentiality to

 a third party.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:



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        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 52
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request.

 REQUEST FOR PRODUCTION NO. 53:

        All documents (including videos) reflecting any testing of the Accused Instrumentalities,
 including any development versions and/or prototypes thereof.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 53:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to the phrase “Accused

 Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the

 scope of Plaintiff’s requests to include documents unrelated to the accused products and

 functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it seeks

 information that is trade secret and/or confidential or proprietary business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.




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 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 53
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to documents sufficient to show the testing of FSD or EAP.

        Tesla does not agree to search for and produce “All . . . videos” reflecting such testing, as

 this request is not relevant to any party’s claim or defense and is disproportionate to the needs of

 the case. Tesla is willing to meet and confer on the proper scope of this portion of the request, if

 any.

 REQUEST FOR PRODUCTION NO. 54:

       Documents sufficient to identify all individuals, persons, or entities, including third parties,
 who participated in the research, development, testing, production, evaluation, and/or sale of the
 Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 54:

        Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla. Tesla objects to this Request to the extent it requires Tesla to produce information in

 violation of a legal or contractual obligation of nondisclosure or confidentiality to a third party.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:




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          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show individuals,

 persons, or entities who participated in the development or testing of Enhanced Autopilot, FSD,

 and Dojo. Tesla does not agree to search for and produce additional documents that may be

 responsive to this Request.

          Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 55:

       Documents sufficient to show, for each Accused Instrumentality on a quarterly basis, the
 number of products manufactured in whole or in part in the United States.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 55:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show the number of

 Model S, Model X, Model Y, and Model 3 vehicles including Enhanced Autopilot and/or FSD

 sold in the United States since October 16, 2018. Tesla does not agree to search for and produce

 additional documents that may be responsive to this Request.

          Tesla will produce the identified documents on a rolling basis.


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 REQUEST FOR PRODUCTION NO. 56:

       Documents sufficient to show, for each Accused Instrumentality on a quarterly basis, the
 number of products imported into the United States by or on behalf of Tesla.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 56:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient show the number of

 Model S, Model X, Model Y, and Model 3 vehicles including Enhanced Autopilot and/or FSD

 imported into the United States by or on behalf of Tesla since October 16, 2018. Tesla does not

 agree to search for and produce additional documents that may be responsive to this Request.

          Tesla will produce the identified documents on a rolling basis.



 REQUEST FOR PRODUCTION NO. 57:

        Documents sufficient to show, on a quarterly and yearly basis, the following information
 for each of the Accused Instrumentalities on a product-by-product basis since October 16, 2018:

                    the actual or expected total number of units made, developed, sold or
                     offered for sale in the United States or transmitted or sold abroad;
                    the per-unit average sales price of the Accused Products made, developed, sold or
                     offered for sale in the United States or transmitted or sold abroad;


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                    the revenues, net of any returns, allowances, or credits, from the manufacture,
                     development or sales of the Accused Products in the United States or transmitted
                     or sold abroad;
                    the cost of goods sold relating to the Accused Products made, developed or sold in
                     the United States or transmitted or sold abroad;
                    net and gross profits relating to the Accused Products made, developed or sold in
                     the United States or transmitted or sold abroad;
                    the general and administrative costs attributable to the Accused Products made,
                     developed or sold in the United States or transmitted or sold abroad;
                    the sales and marketing expenses attributable to the Accused Products made,
                     developed or sold in the United States or transmitted or sold abroad;
                    the research and development expenses attributable to the Accused Products
                     manufactured, developed, or sold in the United States or transmitted or sold abroad;
                     and
                    all other expenses attributable to the Accused Products manufactured, developed,
                     or sold in the United States or transmitted or sold abroad.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 57:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show, since October

 16, 2018, show revenues, costs, profits, and pricing for Tesla products including Enhanced

 Autopilot and/or FSD sold in the United States. Tesla does not agree to search for and produce

 additional documents that may be responsive to this Request.

          Tesla will produce the identified documents on a rolling basis.


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 REQUEST FOR PRODUCTION NO. 58:

         Documents sufficient to show any plans, analyses, forecasts, and/or projections for the
 pricing of the Accused Instrumentalities, including documents discussing any list prices, discounts,
 and/or rebates to be offered for any such Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 58:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 58
 (7/72023):

          Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to plans, analyses, forecasts, and/or projections for the pricing of FSD or EAP.

 REQUEST FOR PRODUCTION NO. 59:

        All documents concerning any expenses that you incurred, by date and type of expense, in
 implementing the features of the Accused Instrumentalities that are alleged to infringe the Asserted
 Patents.




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 RESPONSE TO REQUEST FOR PRODUCTION NO. 59:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show expenses that

 Tesla incurred in implementing the relevant aspects of Enhanced Autopilot, FSD, and Dojo. Tesla

 does not agree to search for and produce additional documents that may be responsive to this

 Request.

          Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 60:

        All contracts and agreements with other persons related to the manufacture, testing, sale,
 development, or marketing of any Accused Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 60:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of


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 Tesla. Tesla objects to this Request to the extent it requires Tesla to produce information in

 violation of a legal or contractual obligation of nondisclosure or confidentiality to a third party.

 Tesla further objects to this request to the extent it seeks production of documents protected by

 attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 60
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to patent licenses or settlements executed by Tesla relating to autonomous driving,

 or training of a vehicle for autonomous driving.

 REQUEST FOR PRODUCTION NO. 61:

         All Documents relating to any application by Tesla to any private or governmental agency
 for registration, certification, or approval of any aspect of any Accused Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 61:

        Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of



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 Tesla. Tesla further objects to this request to the extent it seeks production of documents protected

 by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 61
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla does not agree to search for and produce “All Documents relating to

 any application by Tesla to any private or governmental agency for registration, certification, or

 approval of any aspect of any Accused Instrumentality,” as this information is not relevant to any

 party’s claim or defense and is disproportionate to the needs of the case.

 REQUEST FOR PRODUCTION NO. 62:

         All Documents relating to how Tesla instructs others on how to manufacture or use any
 Accused Instrumentality, including any user manuals, articles, data sheets, or product
 specifications.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 62:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

 proportional to the needs of this case with respect to the phrase “relating to”. Tesla further objects

 to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the

 extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the accused

 products and functionality, or any relevant issues in this case. Tesla further objects to this Request


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 to the extent it seeks information that is already in Plaintiff’s possession or available from a public

 source as to which the burden of obtaining such information is the same for Plaintiff as it would

 be for Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show user manuals

 and product specifications relating to Enhanced Autopilot, FSD, and Dojo. Tesla does not agree to

 search for and produce other documents that may be responsive to this Request.

 REQUEST FOR PRODUCTION NO. 63:

         All documents (including videos) provided to Your customers or potential customers to
 whom You sell or offer to sell the Accused Instrumentalities, including without limitation
 directions or suggestions concerning how to use the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 63:

          Tesla incorporates by reference its General Objections. Subject to its objections, Tesla

 further objects to this Request as overly burdensome, vague, ambiguous and not proportional to

 the needs of this case to the extent it seeks production of “all documents.” Tesla objects to this

 Request as vague, ambiguous and not proportional to the needs of this case with respect to the

 phrase “potential customers” and “directions or suggestions.” Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

 extent it seeks information that is already in Plaintiff’s possession or available from a public source

 as to which the burden of obtaining such information is the same for Plaintiff as it would be for

 Tesla.

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         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show documents or

 videos provided to Tesla customers or potential customers for Tesla products including Enhanced

 Autopilot and/or FSD. Tesla does not agree to search for and produce additional documents that

 may be responsive to this Request.

         Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 64:

        All documents concerning your customers’ use of the Accused Instrumentalities and/or
 your potential customers’ expected use of the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 64:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents”. Tesla objects to this Request as vague, ambiguous and not

 proportional to the needs of this case with respect to the phrase “concerning”; “potential

 customers” and “expected use”. Tesla further objects to the phrase “Accused Instrumentalities” as

 overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

 requests to include documents unrelated to the accused products and functionality, or any relevant

 issues in this case.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show how often


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 Tesla’s customers use Enhanced Autopilot and FSD. Tesla does not agree to search for and produce

 additional documents that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 65:

        All training materials (including videos) provided to customers, employees, contractors, or
 representatives to the extent such training materials (including videos) related to the sale or use of
 the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “related to” and “customers,

 employees, contractors, or representatives”. Tesla further objects to the phrase “Accused

 Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the

 scope of Plaintiff’s requests to include documents unrelated to the accused products and

 functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it seeks

 information that is trade secret and/or confidential or proprietary business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show training

 materials provided to customers related to the sale or use of Enhanced Autopilot and FSD. Tesla

 does not agree to search for and produce additional documents that may be responsive to this

 Request.

        Tesla will produce the identified documents on a rolling basis.

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 REQUEST FOR PRODUCTION NO. 66:

        All Documents relating to the advertising or promotion of any Accused Instrumentality,
 including any advertisements or advertising campaigns, advertising budgets and expenditures,
 brochures, pamphlets, catalogs, or price lists.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla objects

 to this Request to the extent it seeks information that is trade secret and/or confidential or

 proprietary business information of Tesla. Tesla further objects to the phrase “Accused

 Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it broadens the

 scope of Plaintiff’s requests to include documents unrelated to the accused products and

 functionality, or any relevant issues in this case.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla is not aware of any documents responsive to this Request.

 REQUEST FOR PRODUCTION NO. 67:

        Documents sufficient to identify any internal code names for each Accused
 Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 67:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 to the extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad,

 unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to


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 include documents unrelated to the accused products and functionality, or any relevant issues in

 this case.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show the internal code

 names for Enhanced Autopilot, FSD, and Dojo, to the extent such code names exist. Tesla does

 not agree to search for and produce additional documents that may be responsive to this Request.

         Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 68:

        All Documents relating to autonomous driving market, including any studies, reports, or
 analyses relating to market share, market demand, market segments, competition, consumer
 surveys, or revenue.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 68:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to” and

 “autonomous driving market”. Tesla objects to this Request to the extent it seeks information that

 is trade secret and/or confidential or proprietary business information of Tesla. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

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        Tesla is not aware of any documents responsive to this Request.

 REQUEST FOR PRODUCTION NO. 69:

         All Documents relating to any conference, seminar, exhibition, convention, video,
 commercial, or trade show at which any Accused Instrumentality was discussed, referred to,
 advertised, displayed, demonstrated, or shown, including, but not limited to, each transcript
 associated with the conference, seminar, exhibition, convention, video, commercial, or trade show.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 69:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case. Tesla further objects to this

 Request to the extent it seeks information that is already in Plaintiff’s possession or available from

 a public source as to which the burden of obtaining such information is the same for Plaintiff as it

 would be for Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show conferences,

 seminars, exhibitions, conventions, videos, commercials, or trade shows at which the relevant

 functionalities of Enhanced Autopilot, FSD, or Dojo were discussed, referred to, advertised,

 displayed, demonstrated, or shown. Tesla does not agree to search for and produce additional

 documents that may be responsive to this Request.


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        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 70:

        All Documents relating to any products that compete with any Accused Instrumentality,
 including any analyses of the strengths or weaknesses of those products compared to any Accused
 Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 70:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case. Tesla further objects to this

 Request to the extent it seeks information that is trade secret and/or confidential or proprietary

 business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 70
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to documents sufficient to show comparisons of FSD or EAP with other products.


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 REQUEST FOR PRODUCTION NO. 71:

        Documents sufficient to show, for each Accused Instrumentality on a quarterly basis,
 quantity sold, price, gross revenue, terms and conditions of sale, customer name, and country of
 sale.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 71:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

 extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla.

          Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

          Tesla refers Plaintiff to its Response to Request for Production No. 57.

 REQUEST FOR PRODUCTION NO. 72:

        Documents sufficient to show the profitability of each Accused Instrumentality, including
 revenues, costs of sale, order contributions, product margins, gross margins, and operating profits.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 72:

          Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla objects to this Request to the extent it

 seeks information that is trade secret and/or confidential or proprietary business information of

 Tesla.




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        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla refers Plaintiff to its Response to Request for Production No. 57.

 REQUEST FOR PRODUCTION NO. 73:

        Documents sufficient to show royalties paid by Tesla, or paid to Tesla, for the licensing of
 any patent or technology relating to the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 73:

        Tesla incorporates by reference its General Objections. Tesla further objects to the phrase

 “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant to the extent it

 broadens the scope of Plaintiff’s requests to include documents unrelated to the accused products

 and functionality, or any relevant issues in this case. Tesla further objects to this Request to the

 extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla objects to this Request to the extent it seeks information that is trade

 secret and/or confidential or proprietary business information of Tesla. Tesla objects to this

 Request to the extent it requires Tesla to produce information in violation of a legal or contractual

 obligation of nondisclosure or confidentiality to a third party. Tesla further objects to this request

 to the extent it seeks production of documents protected by attorney-client privilege or work

 product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show royalties paid

 by Tesla, or paid to Tesla, for the licensing of any patents that relate to the subject matter of the




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 Asserted Patents. Tesla does not agree to search for and produce additional documents that may

 be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 74:

        All documents concerning the financial reports produced, maintained, or run by you in the
 ordinary course of your business concerning the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 74:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the

 accused products and functionality, or any relevant issues in this case.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show the financial

 reports produced, by Tesla in the ordinary course of business concerning Enhanced Autopilot,

 FSD, and Dojo. Tesla does not agree to search for and produce additional documents that may be

 responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 75:

        All of your periodic (monthly, quarterly, annual) financial statements, from October 16,
 2018 to the present, including, but not limited to, statements showing realized or expected sales

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 revenue, cost of goods sold, selling expenses, general expenses, administrative expenses, and
 income, on a product-by-product basis.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 75:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 to the extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla objects this Request as unduly burdensome to the extent it seeks

 information outside the scope of this litigation.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla refers Plaintiff to its Response to Request for Production No. 57.

 REQUEST FOR PRODUCTION NO. 76:

         All business plans relating to each of the Accused Instrumentalities, including but not
 limited to, strategic plans, operating plans, marketing plans or studies, sales plans, financial plans,
 surveys, sales forecasts, budgets, and/or other evaluations, analyses, or assessments concerning
 the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 76:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as vague, ambiguous and not proportional to the needs of this case with respect to the phrase “all

 business plans relating to”. Tesla further objects to the phrase “Accused Instrumentalities” as

 overbroad, unduly burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s

 requests to include documents unrelated to the accused products and functionality, or any relevant

 issues in this case. Tesla objects to this Request to the extent it seeks information that is trade

 secret and/or confidential or proprietary business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:



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        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 76
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to “strategic plans, operating plans, marketing plans or studies, sales plans,

 financial plans, surveys, sales forecasts, [and] budgets” for FSD or EAP.

 REQUEST FOR PRODUCTION NO. 77:

         All documents concerning Defendants’ future plans for the Accused Instrumentalities,
 including sales projections, future plans for the development of the Accused Instrumentalities and
 any planned or contemplated improvements, additions, new features, new functionality, updates,
 revisions, and alterations of the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 77:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning” and “future

 plans”. Tesla further objects to the phrase “Accused Instrumentalities” as overbroad, unduly

 burdensome, and irrelevant to the extent it broadens the scope of Plaintiff’s requests to include

 documents unrelated to the accused products and functionality, or any relevant issues in this case.

 Tesla objects to this Request to the extent it seeks information that is trade secret and/or

 confidential or proprietary business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

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        Tesla does not agree to search for and produce additional documents that may be

 responsive to this Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 77
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to sales projections for FSD or EAP.

        Tesla does not agree to search for and produce “All documents concerning . . . future plans

 for the development of the Accused Instrumentalities and any planned or contemplated

 improvements, additions, new features, new functionality, updates, revisions, and alterations of

 the Accused Instrumentalities,” as this request is not relevant to any party’s claim or defense and

 is disproportionate to the needs of the case.

 REQUEST FOR PRODUCTION NO. 78:

         All documents concerning your marketing, sales, promotion, and advertisement of the
 Accused Instrumentalities, including all documents, bids, requests for proposal, marketing studies,
 promotional material, presentations, videos, television advertisements, magazine and/or trade
 journal advertisements, internet advertising, and radio advertisements concerning said advertising
 and marketing.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 78:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning”. Tesla further

 objects to the phrase “Accused Instrumentalities” as overbroad, unduly burdensome, and irrelevant

 to the extent it broadens the scope of Plaintiff’s requests to include documents unrelated to the


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 accused products and functionality, or any relevant issues in this case. Tesla objects to this Request

 to the extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla further objects to this Request to the extent it seeks information that is

 already in Plaintiff’s possession or available from a public source as to which the burden of

 obtaining such information is the same for Plaintiff as it would be for Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show Tesla’s

 marketing, promotion, and advertisement of Enhanced Autopilot, FSD, and Dojo. Tesla does not

 agree to search for and produce additional documents that may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 79:

         All Documents relating to any license, settlement, or other agreement taken, offered to or
 by, or accepted by Tesla relating to any Accused Instrumentality, autonomous driving, or training
 of a vehicle for autonomous driving.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 79:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”; “autonomous

 driving” or “training of a vehicle for autonomous driving”. Tesla objects to this Request to the

 extent it seeks information that is trade secret and/or confidential or proprietary business

 information of Tesla. Tesla objects to this Request to the extent it requires Tesla to produce

 information in violation of a legal or contractual obligation of nondisclosure or confidentiality to

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 a third party. Tesla further objects to this request to the extent it seeks production of documents

 protected by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show any patent

 licenses or settlements executed by Tesla relating to autonomous driving, or training of a vehicle

 for autonomous driving. Tesla does not agree to search for and produce additional documents that

 may be responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 80:

        All license agreements relating to the Accused Instrumentalities.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 80:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as vague, ambiguous and not proportional to the needs of this case with respect to the phrase

 “relating to”; “autonomous driving” or “training of a vehicle for autonomous driving”. Tesla

 objects to this Request to the extent it seeks information that is trade secret and/or confidential or

 proprietary business information of Tesla. Tesla further objects to this Request to the extent it

 requires Tesla to produce information in violation of a legal or contractual obligation of

 nondisclosure or confidentiality to a third party. Tesla further objects to this request to the extent

 it seeks production of documents protected by attorney-client privilege or work product privilege.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:



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         Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 80
 (7/7/2023):

         Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to patent licenses or settlements executed by Tesla relating to autonomous driving,

 or training of a vehicle for autonomous driving.

 REQUEST FOR PRODUCTION NO. 81:

        All license agreements that you contend to be for use of technologies that are comparable
 or analogous to the Asserted Patents.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 81:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as vague, ambiguous and not proportional to the needs of this case with respect to the phrase

 “technologies that are comparable or analogous.” Tesla further objects to this Request as

 improperly and prematurely calling for information concerning Tesla’s contentions and to the

 extent it seeks legal/expert opinion or analysis. Tesla further objects to this request to the extent it

 requires Tesla to draw a legal conclusion.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla will produce any comparable license agreements it intends to rely on in accordance

 with Scheduling Order (D.I. 25) in this case, and will otherwise produce the identified documents

 on a rolling basis.



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 REQUEST FOR PRODUCTION NO. 82:

       All Documents relating to any patent infringement indemnification provisions or
 agreements between Tesla and any other person relating to any Accused Instrumentality.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 82:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “relating to”. Tesla objects

 to this Request to the extent it seeks information that is trade secret and/or confidential or

 proprietary business information of Tesla. Tesla objects to this Request to the extent it requires

 Tesla to produce information in violation of a legal or contractual obligation of nondisclosure or

 confidentiality to a third party. Tesla further objects to this request to the extent it seeks production

 of documents protected by attorney-client privilege or work product privilege.

         Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

         Tesla is not aware of any indemnification provisions or agreements between Tesla and any

 other person relevant to this matter.

 REQUEST FOR PRODUCTION NO. 83:

         All Documents concerning Tesla’s decision to use the Dojo.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 83:

         Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

 proportional to the needs of this case with respect to the phrase “concerning”.


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        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show Tesla’s decision

 to use the Dojo.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 84:

        All Documents concerning Tesla’s praise of the Dojo.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 84:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning.”

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla agrees to conduct a reasonable search for and produce, to the extent any exist, non-

 privileged documents within its possession, custody, or control sufficient to show Tesla’s praise

 of the Dojo. Tesla does not agree to search for and produce additional documents that may be

 responsive to this Request.

        Tesla will produce the identified documents on a rolling basis.

 REQUEST FOR PRODUCTION NO. 85:

        All Documents and information gathered for the NHTSA relating to the tweet below:




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 RESPONSE TO REQUEST FOR PRODUCTION NO. 85:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents and information.” Tesla objects to this Request as vague,

 ambiguous and not proportional to the needs of this case with respect to the phrase “relating to.”

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 85
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla does not agree to search for and produce “All Documents and

 information gathered for” the above-referenced tweet, as this request is vague, is not relevant to

 any party’s claim or defense, and is disproportionate to the needs of the case.

 REQUEST FOR PRODUCTION NO. 86:

        All Documents provided to NHTSA relating to Full Self-Driving and/or Auto Pilot.




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 RESPONSE TO REQUEST FOR PRODUCTION NO. 86:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

 proportional to the needs of this case with respect to the phrase “relating to”.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 86
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla will conduct a reasonable search for and produce, to the extent any

 exist, non-privileged documents within its possession, custody, or control responsive to this

 request, limited to documents provided to NHTSA that describe the technical operation of FSD or

 EAP.

 REQUEST FOR PRODUCTION NO. 87:

         All Documents supporting Mr. Musk’s statement that “Tesla Full Self-Driving will work
 at a safety level well above that of the average driver” in 2021 as shown in the tweet below.




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 RESPONSE TO REQUEST FOR PRODUCTION NO. 87:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla objects to this Request as vague, ambiguous and not

 proportional to the needs of this case with respect to the phrase “supporting.”

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 87
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla does not agree to search for and produce “All Documents supporting

 Mr. Musk’s statement” in the above-referenced tweet, as this request is vague, is not relevant to

 any party’s claim or defense, and is disproportionate to the needs of the case.




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 REQUEST FOR PRODUCTION NO. 88:

        All Documents concerning the safety of Tesla’s Full Self-Driving and/or Enhanced
 Autopilot.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 88:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning”.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 88
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla does not agree to search for and produce “All Documents concerning

 the safety of Tesla’s Full Self-Driving and/or Enhanced Autopilot,” as this request is vague

 (“concerning the safety of”), is not relevant to any party’s claim or defense, and is disproportionate

 to the needs of the case.

 REQUEST FOR PRODUCTION NO. 89:

         All Documents concerning Tesla’s fleet being “the biggest asset value increase of anything
 in history” as stated by Mr. Musk during Tesla’s Q4 2022 results conference call:

        Something that I think some of these smart retail investors understand but I think a
        lot of others maybe don’t – is that every time we sell a car, it has the ability, just
        from uploading software, to have full self-driving enabled, and full self-driving is
        obviously getting better very rapidly. So that’s actually a tremendous upside
        potential because all of those cars, with a few exceptions, only a small percentage
        of cars don’t have Hardware 3, so that means that there are millions of cars where

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        full self-driving can be sold at essentially 100% gross margin. And the value of it
        grows as the autonomous capability grows. And then, when it becomes fully
        autonomous, that is a value increase in the fleet. That might be the biggest asset
        value increase of anything in history. Yes.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 89:

        Tesla incorporates by reference its General Objections. Tesla further objects to this Request

 as overly burdensome, vague, ambiguous and not proportional to the needs of this case to the extent

 it seeks production of “all documents.” Tesla further objects to this Request as vague, ambiguous

 and not proportional to the needs of this case with respect to the phrase “concerning”. Tesla objects

 to this Request to the extent it seeks information that is trade secret and/or confidential or

 proprietary business information of Tesla.

        Subject to and without waiving its General and Specific objections, Tesla responds as

 follows:

        Tesla does not agree to search for and produce documents that may be responsive to this

 Request.

 FIRST SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 89
 (7/7/2023):

        Subject to and without waiving its general and specific objections, Tesla supplements its

 response as follows: Tesla does not agree to search for and produce “All Documents concerning

 Tesla’s fleet being ‘the biggest asset value increase of anything in history,’” as this request is vague

 (seeking documents “concerning” a statement) and is disproportionate to the needs of the case.

 Tesla is willing to meet and confer on the proper scope of this request, if any.




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 August 23, 2023




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 23, 2023, copies of the foregoing were caused to be served

 upon the following in the manner indicated:

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